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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

l\/IICHAEL R. FANNING, )
Plaintifl", §

v. § CivilNo. l:l6-cv-2496-ABJ
CBRE TECHNICAL SERVICES, LLC, §
Defendant. §

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
Plaintiff, by and through undersigned counsel and pursuant to Rule 4l(a)(l)(A)(i) of the
Federal Rules of Civil Procedure, hereby notifies the Court that it has resolved this matter With the
Defendant and hereby dismisses the Complaint against the Defendant Without prejudice This
Notice is made before either an answer or a motion for summary judgment has been filed by the
Defendant.
Respectfully submitted,
Dated: April l9, 2017 O’DONOGHUE & O’DONOGHUE LLP
4748 Wisconsin Avenue, N.W.
Washington, D.C. 20016

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By:

 

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